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In the United States Bankruptcy Court
Middle District of Louisiana

IN RE: Michael Harvey

Debtor
Plaintiff

Vv. Chapter 7 Case No. : 19-10073
East Baton Rouge Sheriff
Beenita & Nirav Bhatt

Defendants

Information Required by 11 U.S.C. § 342(c)
Michael Harold Harvey
13554 Rendale Avenue
Baton Rouge, Louisiana
SSN/ITIN: xxx-xx-2618
Emergency Motion to Stay Eviction

1. Plaintiff, Michael Harold Harvey, the Debtor in the underlying bankruptcy case
and reside at 13554 Rendale Avenue, Baton Rouge Louisiana. A Notice of
Bankruptcy Case Filing was entered in this case on January 17, 2019, pursuant
to 11 U.S.C § 301, thus triggering an automatic stay, pursuant to 11 U.S.C. § 362(a)
of all debt collection against the Debtors.

2. The purpose of filing for bankruptcy is to get immediate protection for the
petitioner from all debt collectors. At this time I am not in a position financially to
move into another home or apartment. Physically I cannot move in three days. My
paycheck has been garnished, along with max withholding for the past two years.

Petitioner needs more time to acquire some additional funds to make a move into a

new home or apartment and to move all belongings, if that be the case. Further,

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it would give me the chance to prove that the Mortgage Service Company had no
standing to foreclose. Fill out all forms in regards to my petition, and file them
quicker.

3. My objective is to keep and pay my home in full and I would hope the Court
would assist me in accomplishing that goal.

4. Further I spoke with a Tim Johnson from Sheriff's office and he indicated that
they were going to ignore the automatic stay in violation of the Bankruptcy code.

5. I ask the court to grant automatic stay of writ of possession for 45 days.

By: Matatt Nfl LL
Michaél ‘Harold Harvey

13554 Rendale Avenue
Baton Rouge, Louisiana
504-289-0896

Respectfully,

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EVICTION! EVICTION!

SHERIFF

East Baton Rouge Parish
Post Office Box 3277
Baton Rouge, Louisiana 70821

SID J. GAUTREADX, II 225-389-5000
SHERIFF & TAX COLLECTOR FAX 225-389-5032

EVICTION! |
DATE: L / LL, 7
viowes 1355) Upncah Ar.

to put the current owner in physical possession of this premesis.

You have through / - ABT G to vacate the property.

The attached writ will be executed whether you are home or not on the morning of:

/- 2ALZ
EVICTION!
Deputy Adam Aaron

Foreclosures Division

Cell (225) 773-9783
eas PLEASE CALL ME IMMEDIATELY ***
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EVICTION! ~< EVICTION!

SHERIFF
East Baton Rouge Parish

Foreclosure Division
Post Office Box 3277
Baton Rouge, Louisiana 70821

Writ of Possession NOTICE

Suit # Lhe £/91 pate: | 1%, (7

/ / yt Aue/ Harvey
Address: / 35 54/ Mondale Arye

Greetings:

Please be advised that the premises in which you are residing has been sold at judicial
auction pursuant to a court order in the above proceeding.

The new owners have caused the Court to issue a writ of possession which is an order
that directs the Sheriff of East Baton Rouge Parish to place the new owners in full
possession of the premises. In other words, the Sheriff has a court order to evict all
persons and property from the residence.

However, if you are the defendant _in the above numbered and entitled proceeding and
are continuing to occupy the premises you will be given a certain amount of time (usually
a few days to a few weeks) to move out of the premises without further notice or court
proceedings pursuant to RS 13:4346, therefore you should make arrangements to remove
your property from the premise immediately since Sheriff’s deputies are subject to show
up at any time without further notice to enforce the court order.

SHERIFF’S OFFICE

Find attached Writ of Possession Foreclosure Division
OFFICE: (225) 389-4818
FAX: (225) 389-4822

= E-MAIL: Aaaron@ebrso.org
Deputy Adam Aaron Sid J. Gautreaux, I CELL: (225) 773-9783

(225) 773-9783 : Sherif

EAST BATON ROUGE SHERIFF'S OFFICE
P.O. BOX 3277 -BATON ROUGE, LOUISIANA 70821

EVICTION! EVICTION!

 
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~— WRIT OF POSSESSION

NATIONSTAR MORTGAGE LLC D/B/A MR.

COOPER NUMBER C-668191 25
(Plaintiff) :
vs 19" JUDICIAL DISTRICT COURT
PARISH OF EAST BATON ROUGE
MICHAEL HARVEY (A/K/A MICHAEL STATE OF LOUISIANA
~ HAROLD HARVEY)
~ = (Defendant)

To the Sheriff of EAST BA FON. ROUGE PARISH, STATE OF LOUISIANA

GREETINGS:

You are hereby commanded in the name of the State of Louisiana and of the Honorable 19" Judicial
District Court for the Parish of East Baton Rouge, to put BINIR LLC, Adjudicated at Sheriff's sale in the
above numbered and entitled cause, in physical possession, in the manner prescribed by law, of the following
described property, to-wit:

Gres certiin (Stor Raréa) OF groundiiogsther with all bubdinga sed lngravemants tharoan, and ull the

fights, ways, pilrileges, osrelfudos, appr end aeteary Siaretihke baboeip/ ing or kn
superta g. being eituatad ‘mn the Parish of ead Baten Roube, te of Loulelana, in that-eubdinion,

Written request having been made to the Clerk of this Honorable Court reciting that a requisite for
this writ has been complied with, under and by virtue of the provisions of R.S. 13:4346.
And what you do in the premises you make return thereof, together with this writ, to our said court, as the
law directs. '

Witness the Honorable Judges and Clerk of our said Court, at Baton Rouge, Louisiana, on
JANUARY 3, 2019. °

WU,

  
       

 

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Deputy Clerk of Court for
Doug Welborn, Clerk of Court

Requesting Attorney: BHATT, BEENITA

WRIT OF POSSESSION -2168

 

 

 
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0434 DNR-Off of Mineral Resources
Class Ex

PERS #: 00039074

MICHAEL HARVEY

c/o 13554 rendale avenue
baton roug LA 70810-3546

BANK DETAILS

Checking 398.08
NET 398.08

LEAVE TAKEN EARNED
ANNUAL 0.00 7.38400 12
SICK 0.00 7.38400 18
COMP -KT 0.00 0.00000
FLSA COMP 0.00 0.00000
FMLA 0.00 0.00000

EARNINGS/PAID ABSENCES

003B Regular Pay-Salary

PERIOD: 26/2018
26/2018

WITHHOLD W/4
FED Single
Married

LA

BALANCE YTD TKN
192.
103.
QO.
QO.
0.

0.00020
42.00020
0.00000
0.00000
0.00000
RATE
32.70

kkkkkkeKEKKE TOTAL EARNINGS/PAID ABSENCES

TAXES/RETIREMENT CURRENT YR-TO-DATE TAX/RET WAGE

Lasers 196.20
FED Withholding 318.14
FED EE Medicare 36.17
LA Withholding 82.73
TOTAL TAXES/RET. 633.24

DEDUCTIONS
2200 *Flex OGB Health
3915 Federal Tax Levy

eeeekeEe TOTAL DEDUCTIONS

EARNINGS/PAID ABSENCES YR-TO

003B Regular Pay-Salary
650B Annual Leave-Absence
655B Sick Leave-Absence
694B Spec Lv Office Closure
701B Holiday

715B Suspended with Pay

***x** TOTAL EARNINGS/PAID ABSENCES

4,950.07
8,118.55
914.72
2,041.93
16,025.27
CURRENT

121.53
1,463.15

1,584.68

-DATE

YTD

PRIOR PERIOD ADJUSTMENT
CAPITAL ONE, NATIONAL

UNPAID ABSENCES

PAY PERIOD END: 12/16/2018

PAY DATE: 12/21/2018
#A PE DE ADDL AMT EIC

00 0.00

00 01 O01 0.00

AMOUNT

HOURS YTD HRS

95 LWOP 26.00
50
00
00
00
HOURS AMOUNT
80.00 2,616.00
2,616.00
CURRENT YR-TO-DATE
LASE 2,616.00 LASE 66,000.93
FED 2,298.27 FED 58,134.14
LA 2,298.27 LA 58,134.14
YR-TO-DATE FLEX BENEFITS/CAFE
2,916.72 CURRENT YR-TO-DATE
36,708.86 121.53 2,916.72
36,708.86
AMOUNT
51,738.16
6,220.78
3,330.78
619.13
3,584.08
508.00
66,000.93
Specia

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***x* STATE OF LOUISIANA DEPT OF TREASURY OFFICE OF STATE UNIFORM PAYROLL ******

1 Messages:

RaRKRK KKK KKEXDON'T TRASH LOUISIANA!

REKKKKKKEKEKKEEEKKEEPD LOUISIANA BEAUTIFUL!

0434 DNR-Off of Mineral Resources

PERIOD:

WITHHOLD W/4
FED Single
Married

PRIOR PERIOD ADJUSTMENT

PERS #: 00039074 Class Ex
MICHAEL HARVEY
c/o 13554 RENDALE AVE
BATON ROUGE LA 70810-3546 LA
BANK DETAILS
Checking 398.08 CAPITAL ONE, NATIONAL
NET 398.08
LEAVE TAKEN EARNED BALANCE YTD TKN
ANNUAL 10.00 6.46100 158.11900 6
SICK 0.00 6.46100 1801.86900 5
COMP -KT 0.00 0.00000 0.00000
FLSA COMP 0.00 0.00000 0.00000
FMLA 0.00 0.00000 0.00000
EARNINGS/PAID ABSENCES RATE
003B Regular Pay-Salary 31.75
650B Annual Leave-Absence 31.75

wee kKAKkKAKKEK TOTAL EARNINGS/PAID ABSENCES

TAXES /RETIREMENT CURRENT YR-TO-DATE TAX/RET WAGE

Lasers 166.69 2,639.47
FED Withholding 238.06 4,392.98
FED EE Medicare 30.47 487.39
LA Withholding 62.53 1,069.69
TOTAL TAXES/RET. 497.75 8,589.53
DEDUCTIONS CURRENT
2200 *Flex OGB Health 121.53
3915 Federal Tax Levy 1,205.14
eeeeeeee TOTAL DEDUCTIONS 1,326.67

EARNINGS/PAID ABSENCES YR-TO-DATE

003B
650B
655B
694B
701B

kKekkk

Regular Pay-Salary
Annual Leave-Absence
Sick Leave-Absence
Spec Lv Office Closure
Holiday

TOTAL EARNINGS/PAID ABSENCES YTD

14/2018
14/2018

kKkekkkkkkvkkkkekkekak
REKKKKEKEKEEKKEKKEKEKEEE

PAY PERIOD END: 07/01/2018
PAY DATE: 07/06/2018
#A PE DE ADDL AMT EIC

00 0.00

Qo O01 O1 0.00

UNPAID ABSENCES

AMOUNT

HOURS YTD HRS

7.70 LWOP 10.00 10.00
6.50
0.00
0.00
0.00
HOURS AMOUNT
60.00 1,905.00
10.00 317.50
2,222.50
CURRENT YR-TO-DATE
LASE 2,222.50 LASE 35,192.92
FED 1,934.28 FED 30,973.56
LA 1,934.28 LA 30,973.56
YR-TO-DATE FLEX BENEFITS/CAFE
1,579.89 CURRENT YR-TO-DATE
19,450.38 121.53 1,579.89
19,450.38
AMOUNT
28,623.23
2,134.60
1,793.88
619.13
2,022.08
35,192.92
